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R
UNITED STATES DISTRICT COURT RCEIVED CLERK
DISTRICT OF UTAH MAY 15 2023
350 S Main St U.S. DISTRICT CouRT
Unit 150:
Salt Lake City, UT 84101

Dear Honorable Jared C. Bennett,

I have reason to believe that the defendants of this case, Sonia
Sotomayor, Elena Kagan, and Ketanji Brown Jackson, who are
current Justices of the Supreme Court of the United States,
broke their oath of office by voting against hearing the Raland J
Brunson's case docket #22-380 of the US Supreme Court.

This case, docket #22-380 is about Pres. Biden, V.P. Harris and
then V.P. Mike Pence, and 385 members of congress who
thwarted the proposed investigation into the allegations that
there was interference in the 2020 Presidential election.

I urge you to give these defendants an opportunity to explain

important to vote against the hearing of the said Raland }
Brunson case.

| aN
hank you.

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